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           EXHIBIT F
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On Thu, Jun 30, 2022 at 5:22 PM Brian Colvin <brian.colvin@stavatti.com> wrote:
 Dear Vallentino

  I hope this message finds you well. We are one day away from the deadline in which we last discussed having your
  principal payment returned to you (and your partners). We are not going to be able to meet that deadline. In light of
  that, I/we wanted to share the steps to correct this matter. DelMorgan & Co. (our investment banking firm raising $35M
  for us) has put the package out to the market of their investor starting Monday (large firms), Tuesday (hi net worth
  groups, and individuals)..

  DelMorgan is raising us $35M (first round) and $130M (second round). They are experts in the industry, and have
  raised over $1 Billion in capital for companies like STAVATTI AEROSPACE, LTD. I have attached the 1 Page - Teezer
  that went out to the market on Monday and Tuesday. We are confident that there will be capital coming in soon from
  this. As soon as it comes in, we will be paying you back your principal, then starting on our project so you will have your
  profit participation.
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      Please review the attachment, and let me know if you have further questions. I can also share the full project pitch deck
      which echoes the pitch deck that was shared with you prior. We are in constant contact with the US Treasury (Foreigne
      Military Finance), US Department of State, and US Department of Defense to get our current orders approved. Once
      our orders are approved, we will have capital to take care of this payment as well.

      We are doing everything possible to reimburse you as quickly as possible. I will keep you posted on our progress.
      Thank you for your patients, and understanding.

      Kindest regards,


      Brian D. Colvin

      PRESIDENT of STAVATTI AEROSPACE, LTD.

      CHAIRMAN & CEO of STAVATTI UAVS, LTD.


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